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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

In re:                                                  CASE NO.: 6:22-bk-04313-GER

BERTUCCI’S RESTAURANTS, LLC                             CHAPTER 11

                Debtor.                                 EMERGENCY RELIEF REQUESTED
                                             /          (Hearing requested on or before Tuesday,
                                                        February 7, 2023)


                    DEBTOR’S EMERGENCY MOTION FOR
            APPROVAL OF PAYMENTS TO CERTAIN CRITICAL VENDORS
                          (Emergency Relief Requested)

         BERTUCCI’S RESTAURTANTS, LLC, (“Bertucci’s” or “Debtor”), a Florida limited

liability company, by and through its undersigned counsel, and pursuant to sections 105(a), 363(b),

364, 503(b)(9) 1107(a) and 1108 of title 11 of the United States Code (the “Bankruptcy Code”),

Rules 6003 and 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

RuleS 2081-1(g)(f) and 9013-1(d) of the Local Bankruptcy Rules for the Middle District of Florida

(the “Local Rules”), respectfully moves this Court (this “Motion”), on an emergency basis, for entry

of an order: (a) authorizing, but not directing, the Debtor to make payments toward the prepetition

fixed, liquidated, and undisputed claims of certain Critical Vendors (as defined below) subject to the

conditions described herein, and (b) authorizing banks to honor and process checks and electronic

transfer requests related thereto. In support of this Motion, Debtor states as follows:

                             Summary of Basis for Emergency Relief

         As set forth in more detail below, certain alcohol and beverage suppliers (as identified on

Exhibit A) have withheld deliveries of essential supplies to some of the Debtor’s restaurant

locations, which are vital to the Debtor’s overall viability. These critical vendors have informed the
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Debtor that they intend to continue to withhold deliveries of necessary supplies absent payment of

their respective pre-petition amounts owed. Collectively, the Debtor owes these suppliers roughly

$47,882. The Debtor is without an alternative source for these alcohol and beverage supplies.

Without these deliveries, sales and operations at the affected restaurants will be suffer, which in turn

will negatively impact the Debtor’s overall reorganization efforts.

                          Jurisdiction, Venue, and Statutory Predicates

       1.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), and (O). Venue is proper in

this district for this Motion pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      The statutory predicate for the relief sought herein includes sections 105(a), 363(b),

364, 503(b)(9) 1107(a) and 1108 of the Bankruptcy Code, Bankruptcy Rules 6003 and 6004, and

Local Rule 2081-1(g)(f).

                                            Background

       3.      On December 5, 2022 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code (“Bankruptcy Code”). Debtor continues

to operate its business and manage its property as debtor-in-possession pursuant to sections 1107 and

1108 of the Bankruptcy Code.

       4.      No trustee or examiner has been appointed in this case.

       5.      On January 9, 2023, the U.S. Trustee appointed and file notice of appointing the

unsecured creditors committee in this case. (Doc. No. 80, as amended by Doc. No. 83).

       6.      For a detailed description of the Debtor and its operations, the Debtor respectfully

refers the Court and parties in interest to the Chapter 11 Case Management Summary [Doc. No. 3].




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       7.       The Debtor is a Florida limited liability company that was formed in May of 2018.

The Debtor owns and operates Italian-themed restaurants under the name Bertucci’s Brick Oven

Pizza & Pasta (the “Restaurants”).

       8.       On December 5, 2022, the Debtor filed its motion seeking, inter alia, to reject or

terminate leases for 18 of its non-operational restaurant locations. Emergency Motion for Order

Authorizing Rejection of Unexpired Leases of Non-Residential Real Property Nunc Pro Tunc to

Petition Date [Doc. No. 7], which was granted by the Court on December 9, 2022. As a result, today

the Debtor owns and operates thirty-one Restaurants located in the Northeastern United States.

                            Debtor’s Operations and Critical Vendors

       9.       The Debtor’s ability to preserve the value of its bankruptcy estate and continue the

normal operations, hinges, in part, upon their ability to successfully retain the services of certain

critical vendors. The continued provision of certain critical services during the reorganization

process is a critical component of the Debtor’s ultimate objective of proposing a viable plan of

reorganization.

       10.        Since filing for protection under the Bankruptcy Code, certain critical alcohol and

beverage suppliers, as identified on the attached Exhibit A (the “Critical Vendors”), have withheld

critical deliveries to certain Restaurant location of the Debtor. These Critical Vendors have informed

the Debtor that they intend to continue to withhold critical services absent payment of pre-petition

amounts. The loss of the Critical Vendors could significantly jeopardize the Debtor’s reorganization

process. Without the continued performance of these Critical Vendors, certain restaurant locations

have been—and will continue to be—grossly disrupted, thereby negatively impacting the Debtor’s

reorganization prospects. The Debtor is without an alternative source for these alcohol and beverage

supplies.




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       11.      As such, the Debtor seeks entry of an order grating it authority to make payments, in

their sole discretion and business judgment, on account of the prepetition claims of the Critical

Vendors, as set forth on the attached Exhibit A (collectively, the “Critical Vendor Claims”). of the

Critical Vendors. The Debtor further requests that the Court grant the Debtor the authority to allocate

the foregoing amounts at its discretion without prejudice to seek additional relief, and subject to an

agreement (within the Debtor’s discretion) to receive terms consistent with Customary Trade Terms

(as defined herein) from the Critical Vendors.

       12.      In an exercise of their business judgment, the Debtor has determined that continuing

to receive goods and services from the Critical Vendors is necessary to operate and restructure its

business as a going concern and to maximize value. If granted the discretion to satisfy the Critical

Vendor’s claims as requested in this Motion, the Debtor will assess, on a case-by-case basis, the

benefits to the estate of paying such Critical Vendor Claims and will pay such claims only to the

extent the estate will benefit. Without this relief, the Critical Vendors will continue to withhold—and

may cease altogether—providing the necessary and critical supplies of alcohol and beverages. Such

actions would significantly impede the Debtor’s reorganization efforts.

       13.      To ensure that the Debtor identifies only those vendors/providers that are actually

critical to its business, employees and professionals of the Debtor who are familiar with the Debtor’s

vendor relationships, have and will continue to extensively analyze and review the Debtor’s

immediate service needs and supplier base. In order to determine which of the Debtor’s vendors are

critical to the its business, the Debtor has used the following non-exhaustive criteria: (a) whether the

vendor in question is a “sole source” provider; (b) whether quality requirements or other

specifications prevent the Debtor from obtaining a vendor’s products or services from alternate

sources within a reasonable timeframe; (c) whether a vendor meeting the standards of (a) or (b) is




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likely to, or has already, refuse(d) to ship product to the Debtor post-petition if its balances are not

paid; (d) whether a vendor would suffer significant financial hardship absent payment of pre-petition

claims which in turn could negatively impact the Debtor; (e) the degree to which replacement costs

(including, pricing, transition expenses, professional fees and lost sales of future revenue) exceed the

amount of a vendor’s prepetition claim; and (f) whether an agreement exists by which the Debtor

could compel a vendor to continue performing on pre-petition terms. The Debtor is confident that

this process will appropriately identify only those vendors that meet some or all of the foregoing

stringent guidelines and that, if the Debtor failed to pay for the vital goods and services it has

provided pre-petition, would likely cease to provide them in the future.

       14.      The Debtor further propose to condition any payment on account of the Critical

Vendor Claims on the agreement of the applicable Critical Vendor to continue supplying goods or

services to the Debtor for the duration of these cases in accordance with trade terms at least as

favorable to the Debtor as those practices and programs in place 180 days prior to the Petition Date

or as otherwise agreed between the Critical Vendors parties and the Debtor (collectively, the

“Customary Trade Terms”).

       15.      Subject to the objection rights of Critical Vendors, the Debtor proposes that any

Critical Vendor that accepts payment on account of a Critical Vendor Claim will be automatically

deemed to have consented to the Customary Trade Terms, whether any trade term agreement is

actually signed.

       16.      If a Critical Vendor refuses to supply goods or services to the Debtor on Customary

Trade Terms following any post-petition payment toward its Critical Vendor Claim, or fails to

otherwise comply with any other agreement it entered into with the Debtor, the Debtor herby seeks

authority, in its discretion and without further order of the Court, but with notice to the affected




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Critical Vendor, (a) to declare such agreement with respect to Customary Trade Terms immediately

terminated, (b) to declare any payments made to such Critical Vendor on account of its Critical

Vendor pre-petition claim to be deemed an avoidable post-petition transfer under 11 U.S.C. § 549,

and the debtors may, at the Debtor’s option, (i) recover from the Critical Vendor in cash, or (ii) apply

the amount of the payment made to the Critical Vendor against any outstanding administrative claim

held by such Critical Vendor.

       17.      In the event that the Debtor exercises the rights set forth in the preceding paragraph,

the Debtor requests that the Critical Vendor against which the Debtor exercises such rights be

required to immediately return to the Debtor any payments made on account of its Critical Vendor

pre-petition claim to the extent that such payments exceed the post-petition amounts then owed to

such Critical Vendor, without giving effect to any rights of setoff or reclamation. In essence, the

Debtor seeks to return the parties to their respective positions immediately prior to entry of an order

approving this Motion in the event a Critical Vendor refuses to supply goods or services to the

Debtor on Customary Trade Terms following any payment toward its Critical Vendor Claim.

       18.      By this Motion, the Debtor seeks entry of an order authorizing it, at its discretion, to

pay the Critical Vendor Claims on the terms and conditions set forth herein.

                                       Memorandum of Law

       19.      The relief requested in this Motion is appropriate under 22 U.S.C. §§ 105(a), 363,

364, 503(b)(9), 1107(a), 1108 and the doctrine of necessity.

       20.      The payment of critical vendor claims is consistent with an appropriate under

Bankruptcy Code sections 363 and 364. See Friedman’s Liquidating Tr. V. Roth Staffing Cos. L.P.

(In re Friedman’s Inc.), 738 F. 3d 547, 560 (3d Cir. 2013) (describing the policy of equal




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distribution among similarly situated creditors and noting critical vendors “can similarly be given

preferred treatment under §§ 105 and Section 363”).

       21.      The Court may also authorize payment of pre-petition claims in appropriate

circumstances based on § 105(a). Section 105(a), which codifies the inherent equitable powers of the

bankruptcy court, empowers the court to “issue any order, process, or judgment that is necessary or

appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a). A bankruptcy

court’s use of its equitable powers to “authorize the payment of pre-petition debt when such payment

is needed to facilitate the rehabilitation of the debtor is not a novel concept.” In re Ionosphere Clubs,

Inc, 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989). Under 11 U.S.C. § 105(a), the Court “can permit pre-

plan payment of a pre-petition obligation when essential to the continued operation of the debtor.” In

re NVR L.P., 147 B.R. 126, 127 (Bankr. E.D. Va. 1992).

       22.      The Debtor, operating its business as a debtors-in-possession under 11 U.S.C. §§

1107(a) and 1108, are fiduciaries “holding the bankruptcy estate[s] and operating the business[es]

for the benefit of [its] creditors and (if the value justifies) equity owners.” In re CoServ, LLC, 273

B.R. 487, 497 (Bankr. N.D. Tex. 2002). Implicit in the duties of a chapter 11 debtor-in-possession is

the duty “to protect and preserve the estate, including an operating business’s going-concern value.”

Id.

       23.      Courts have noted that there are instances in which a debtor-in-possession can fulfill

its fiduciary duty “only … by the pre-plan satisfaction of a pre-petition claim.” Id. The CoServ court

specifically noted that pre-plan satisfaction of pre-petition claims would be a valid exercise of a

debtor’s fiduciary duty when the payment “is the only means to effect a substantial enhancement of

the estate,” and also when the payment was to “sole suppliers of a given product.” Id. at 498. The




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court provided a three-pronged test for determining whether a pre-plan payment on account of a pre-

petition claim was a valid exercise of a debtor’s fiduciary duty:

       First, it must be critical that the debtor deal with the claimant. Second, unless it deals
       with the claimant, the debtor risks the probability of harm, or, alternatively, loss of
       economic advantage to the estate or the debtor’s going concern value, which is
       disproportionate to the amount of the claimant’s prepetition claim. Third, there is no
       practical or legal alternative by which the debtor can deal with the claimant other
       than by payment of the claim. Id at 498.

       24.      Payment of the Critical Vendors Claims meets each element of the CoServ court’s

standard. As discussed above, the Debtor has narrowly tailored the Critical Vendors’ claims to

encompass only those suppliers that are the sole source of a particular good or service without which

the Debtor’s operations would be severely impacted or those suppliers or service suppliers who are

critical because the time and expense that would be involved in transitioning to a new supplier would

be prohibitive and would significantly disrupt the Debtor’s business. The potential harm and

economic disadvantage that would stem from the failure of any of the Critical Vendors to perform is

grossly disproportionate to the amount of any pre-petition claim that may be paid. Finally, with

respect to each Critical Vendor, the Debtor has examined other options short of payment of Critical

Vendor Claims and has determined that to avoid significant disruption of the Debtor’s operations

there exists no practical or legal alternative to payment of the Critical Vendor Claims. Therefore, the

Debtor can only meet its fiduciary duties as debtors-in-possession by the payment of the Critical

Vendor Claims.

       25.      Additionally, the “necessity of payment” doctrine further supports the relief requested

in the Motion. The “necessity of payment” doctrine “recognizes the existence of the judicial power

to authorize a debtor in a reorganization case to pay pre-petition claims where such payment is

essential to the continued operation of the debtor.” Ionosphere Clubs, 98 B.R. at 176 (Bankr.

S.D.N.Y. 1989); In re Chateaugay Corp., 80 B.R. 279, 287 (S.D.N.Y. 1987). This rule is consistent



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with the paramount goal of Chapter 11, which is “facilitating the continued operation and

rehabilitation of the debtor.” Ionsphere Clubs, 98 B.R. at 176.

       26.      Under the doctrine of necessity, a bankruptcy court may exercise its equitable power

to authorize a debtor to pay the pre-petition claims of certain critical vendors. See In re Columbia

Gas Sys., Inc., 136 B.R. 930, 939 (Bankr. D. Del. 1992) (recognizing that “[i]f payment of a pre-

petition claim is essential to the continued operation of [the debtor], payment may be authorized”.)

       27.      Payment of the Critical Vendors’ prepetition claims is essential to ensure the

continued availability of such trade terms and the undisturbed flow of goods and services necessary

to operate certain of the Debtor’s ongoing business. Accordingly, this Court should exercise its

equitable powers to grant the relief requested herein.

       WHEREFORE, the Debtor respectfully requests this Court to enter an order approving

payment of the Critical Vendor Claims set forth on Exhibit A, pursuant to the terms set forth herein,

in addition, granting further relief as this Court deems just and proper.

       RESPECTFULLY SUBMITTED this 3rd day of January 2023.

                                                  /s/ R. Scott Shuker
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In re:                                                 CASE NO.: 6:22-bk-04313-GER

BERTUCCI’S RESTAURANTS, LLC                            CHAPTER 11

               Debtor.                                 EMERGENCY RELIEF REQUESTED
                                             /         (Hearing requested on or before Tuesday,
                                                       February 7, 2023)


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I caused the foregoing Debtor’s Emergency Motion for

Approval of Payments to Certain Critical Vendors I to be uploaded for filing via the Court’s

CM/ECF system which will electronically serve notice of the same to all parties receiving electronic

notice, including all parties listed on the attached matrix on this 3rd day of February 2023.

                                                  /s/ R. Scott Shuker
                                                  R. Scott Shuker, Esq.




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